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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA

                                                         Civil Action No.: ___________________
SHARIF ERGASHEV,

                              Plaintiff,
       vs.                                               COMPLAINT FOR VIOLATIONS OF
                                                         THE FAIR CREDIT REPORTING ACT

EQUIFAX INFORMATION SERVICES, LLC,

                                                         DEMAND FOR JURY TRIAL
                              Defendant.


       Plaintiff Sharif Ergashev (“Plaintiff”) brings this action against defendant Equifax

Information Services, LLC (“Equifax” or “Defendant”) and alleges based upon Plaintiff’s personal

knowledge, the investigation of counsel, and information and belief, as follows:

                                   NATURE OF THE ACTION

       1.      This is an action to recover damages for violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. §§1681, et seq. Defendant Equifax has been reporting inaccurate account

balance and amount past due information on Plaintiff’s credit reports. Although Plaintiff disputed

the reporting in writing, Defendant failed to investigate Plaintiff’s claims, and failed to mark the

accounts as disputed. Plaintiff was later denied an extension of credit based on information

contained in Plaintiff’s Equifax report, and has been forced to deal with the aggravation and

humiliation of a poor credit score. Accordingly, Plaintiff is entitled to damages.

                                 JURISDICTION AND VENUE

       2.      The claims asserted in this complaint arise under §§1681e and 1681i of the FCRA.

This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331 and 15

U.S.C. §1681p.




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       3.      Venue is proper in this judicial district under 28 U.S.C. §1391(b).

                                            PARTIES

       4.      Plaintiff resides in Jamaica, New York, and qualifies as a “consumer” as that term

is defined under 15 U.S.C. §1681a(c). Plaintiff is an individual.

       5.      Defendant Equifax is a Georgia corporation that regularly conducts business in this

judicial district. Equifax qualifies as a “consumer reporting agency” under the FCRA.

                               SUBSTANTIVE ALLEGATIONS

The FCRA

       6.      The FCRA is a federal statute designed to protect consumers from the harmful

effects of inaccurate information contained in their consumer credit reports. Thus, Congress

enshrined the principles of “fair and accurate credit reporting” and the “need to ensure that

consumer reporting agencies exercise their grave responsibilities with fairness” in the very first

provision of the FCRA, as follows:

               (1) “The banking system is dependent upon fair and accurate credit
               reporting. Inaccurate credit reports directly impair the efficiency
               of the banking system, and unfair credit reporting methods
               undermine the public confidence, which is essential to the continued
               functioning of the banking system.
               (2) An elaborate mechanism has been developed for investigating
               and evaluating the creditworthiness, credit standing, credit capacity,
               character, and general reputation of consumers.
               (3) Consumer reporting agencies have assumed a vital role in
               assembling and evaluating consumer credit and other information
               on consumers.
               (4) There is a need to ensure that consumer reporting agencies
               exercise their grave responsibilities with fairness, impartiality, and
               a respect for the consumer’s right to privacy.
                                              15 U.S.C. §1681a (emphasis added).
       7.      To that end, the FCRA imposes the following twin duties on consumer reporting

agencies (or credit bureaus): (i) credit bureaus must assure maximum possible accuracy of


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information when preparing consumer reports and to set up reasonable procedures to maintain

compliance with this minimum reporting standard; and (ii) credit bureaus must reinvestigate the

facts and circumstances surrounding a consumer’s dispute and to appropriately and timely correct

any inaccuracies.

       8.      In addition, credit bureaus must promptly notify the furnisher and any other parties

in the distribution chain of the disputed inaccuracies.

       9.      Defendant compiles, maintains, and reports information concerning Plaintiff’s

creditworthiness, credit-standing, credit capacity, character, and reputation. That information is

then made available for use by third parties in credit transactions involving consumers, for

employment purposes, the underwriting of insurance for consumers, and even housing.

       10.     Plaintiff has a legally protected interest in Defendant fulfilling its duties under the

FCRA, so that the information is reported and maintained fairly, to support maximum levels of

confidentiality, accuracy, and relevancy.

Defendant Violated the FCRA By Reporting Inaccurate Information on Plaintiff’s Credit
Reports, and Subsequently Failed to Investigate and Correct the Inaccurate Information

       11.     Defendant sold credit reports containing inaccurate account balance and amount

past due information on Plaintiff’s J.P. Morgan Chase card and Honda tradelines.

       12.     Specifically, Defendant reported an amount past due on the account that was

inconsistent with the outstanding balance on the account at the time it was charged off.

       13.     This reporting was materially misleading because it created the false impression

that Plaintiff’s account was currently open, and adversely affected Plaintiff’s credit score.

       14.     It is for precisely that reason that leading industry guidance instructs the Amount

Past Due field must mirror the balance charged off.




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       15.     On January 29, 2020, Plaintiff sent a letter to Defendant disputing the accuracy of

the reporting. In the dispute letter, Plaintiff specifically asked Equifax to mark the accounts as

disputed so the erroneous information would not adversely affect Plaintiff’s credit score.

       16.     The receipt of Plaintiff’s dispute letter triggered an obligation for Defendant to

conduct an investigation, mark the account as disputed, and correct the reporting.

       17.     Equifax, however, failed to conduct an investigation and failed to mark the accounts

as disputed.

       18.     Plaintiff was later denied the extension of further credit on the basis of the

inaccurate reporting.

Equifax Failed to Maintain Adequate Policies and Procedures

       19.     Defendant systematically violated the FCRA by failing to adhere to and maintain

reasonable procedures to assure the maximum possible accuracy of the information in the

consumer background reports it published.

       20.     Upon receiving Plaintiff’s dispute, Defendant was legally required, but failed, to:

(i) conduct a reasonable investigation or reinvestigation into all the circumstances surrounding the

dispute; and (ii) when and if appropriate, remove any inaccurate information following the

performance of the reasonable investigation.

       21.     Accordingly, Plaintiff is entitled to damages. Plaintiff has suffered actual damages

through harm to Plaintiff’s consumer background reputation and overall credit score, by missing

opportunities, and by being denied the ability to procure additional credit.

                                     CAUSES OF ACTION

                                             COUNT I

         Against Equifax for Violations of the FCRA, 15 U.S.C. §§1681e and 1681i

       22.     Plaintiff repeats and realleges the foregoing allegations if set forth in full herein.


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       23.     The FCRA imposes a duty on credit reporting agencies to devise and implement

procedures to assure the “maximum possible accuracy” of credit reports, as follows:

               Whenever a consumer reporting agency prepares a consumer report,
               it shall follow reasonable procedures to assure maximum possible
               accuracy of the information concerning the individual about whom
               the report relates.
                                            15 U.S.C. §1681e(b) (emphasis added).

       24.     Upon receiving a consumer’s dispute, credit reporting agencies are legally required

to conduct an investigation and correct the disputed information contained in the report, as follows:

               …if the completeness or accuracy of any item of information
               contained in a consumer’s file at a consumer reporting agency is
               disputed by the consumer and the consumer notifies the agency
               directly, or indirectly through a reseller, of such dispute, the agency
               shall, free of charge, conduct a reasonable reinvestigation to
               determine whether the disputed information is inaccurate and
               record the current status of the disputed information, or delete the
               item from the file in accordance with paragraph (5), before the end
               of the 30-day period beginning on the date on which the agency
               receives the notice of the dispute from the consumer or reseller.
                                                  Id. §1681i(a)(1) (emphasis added)

       25.     Credit reporting agencies are further required to provide prompt notice of the

consumer’s dispute to the furnisher of the disputed information, as follows

               Before the expiration of the 5-business-day period beginning on
               the date on which a consumer reporting agency receives notice of a
               dispute from any consumer or a reseller in accordance with
               paragraph (1), the agency shall provide notification of the dispute
               to any person who provided any item of information in dispute, at
               the address and in the manner established with the person. The
               notice shall include all relevant information regarding the dispute
               that the agency has received from the consumer or reseller.
                                                 Id. §1681i(a)(2) (emphasis added).

       26.     Equifax failed to follow reasonable procedures to ensure maximum possible

accuracy of the information reported on Plaintiff’s credit reports. Although Plaintiff disputed the




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inaccurate information in writing, Equifax willfully, or at least negligently, failed to perform a

reasonable investigation and failed to remove the inaccurate information.

       27.     Equifax’s willful and/or negligent failure to follow reasonable policies and

procedures, failure to perform a reasonable investigation and failure to remove the inaccurate

information was a direct and proximate cause of Plaintiff’s injury.

       28.     As a result of Equifax’s statutory violations, Plaintiff suffered statutory and actual

damages as described herein and is entitled to recover statutory, actual, and punitive damages

under 15 U.S.C. §§1681n and 1681o.

                                            JURY DEMAND

       Plaintiff demands a trial by jury.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a judgment:

       a)      awarding Plaintiff statutory money damages, actual damages and punitive

damages, including pre-judgment and post-judgment interest;

       b)      awarding attorneys’ fees and costs, and other relief; and

       c)      awarding such other relief as to this Court may seem just and proper.



Dated: December 6, 2020                        THE OAKS FIRM


                                                           /s/ Misty Oaks Paxton, Esq.
                                                         MISTY OAKS PAXTON, ESQ.
                                               3895 Brookgreen Point
                                               Decatur, Georgia 30034
                                               Tel: (404) 725-5697
                                               attyoaks@yahoo.com




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                             COHEN & MIZRAHI LLP
                             EDWARD Y. KROUB
                             DANIEL C. COHEN
                             MOSHE O. BOROOSAN
                             300 Cadman Plaza West, 12th Floor
                             Brooklyn, NY 11201
                             Telephone: 929/575-4175
                             929/575-4195 (fax)
                             edward@cml.legal
                             dan@cml.legal
                             moshe@cml.legal

                             Attorneys for Plaintiff




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